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                   ANHEUSER-BUSCH, LLC
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         11                            UNITED STATES DISTRICT COURT
         12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
         13                           WESTERN DIVISION – LOS ANGELES
         14
         15        PATAGONIA, INC. and                Case No. 2:19-cv-02702-VAP
                   PATAGONIA PROVISIONS, INC.,
         16                                           STIPULATION TO EXTEND
                                 Plaintiffs,
         17                                           TIME TO RESPOND TO FIRST
                        v.                            AMENDED COMPLAINT
         18
                   ANHEUSER-BUSCH, LLC dba
         19        PATAGONIA BREWING CO. ,            Complaint Served: May 7, 2019
         20                      Defendant.           Amended Compl. Served: June 5, 2019
         21                                           Current Response Date: June 19, 2019
         22                                           New Response Date: July 3, 2019
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  COOLEY LLP                                                STIPULATION TO EXTEND TIME TO RESPOND TO
ATTORNEYS AT LAW
                                                                                 AMENDED COMPLAINT
  LOS ANGELES
                                                                        CASE NO. 2:19-CV-02702-VAP
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            1            WHEREAS, on May 7, 2019, Plaintiffs Patagonia, Inc. and Patagonia Provisions,
            2      Inc. (“Plaintiffs”) caused the Complaint in this matter to be served on Defendant
            3      Anheuser-Busch, LLC dba Patagonia Brewing Co. (“Defendant”);
            4            WHEREAS, the initial deadline for Defendant to respond to Plaintiffs’
            5      Complaint was May 28, 2019;
            6            WHEREAS, on May 28, 2019, the Parties filed a stipulation extending
            7      Defendant’s time to respond to the Complaint, pursuant to Local Rule 8-3, by ten (10)
            8      days, to June 7, 2019;
            9            WHEREAS, on June 5, 2019, Plaintiffs voluntarily filed a First Amended
         10        Complaint, in which Plaintiffs amended several of its claims;
         11              WHEREAS, the current deadline for Defendant’s Response to Plaintiffs’ First
         12        Amended Complaint is June 19, 2019;
         13              WHEREAS, Defendant is evaluating a motion to dismiss certain of the claims in
         14        the First Amended Complaint, the parties have met and conferred, and due to the nature
         15        of the claims and personal scheduling conflicts with Defendant’s counsel, Defendant
         16        needs additional time to prepare its motion or to otherwise respond to the First Amended
         17        Complaint;
         18              WHEREAS, the Parties have stipulated to extend Defendant’s time to respond to
         19        the First Amended Complaint by fourteen (14) days, to July 3, 2019;
         20              WHEREAS, if Defendant files a motion to dismiss, the Parties have stipulated
         21        that Plaintiffs’ opposition will be filed by July 25, 2019, Defendant’s reply will be filed
         22        by August 5, 2019, and the hearing on such motion will be noticed for August 19, 2019
         23        (or such other date that the Court deems appropriate); and
         24              WHEREAS, further, if Defendant files a motion to dismiss, the Parties have
         25        stipulated that Defendant need not file an answer until no earlier than fourteen (14) days
         26        after the Court’s ruling on such motion or after Plaintiffs’ filing of a second amended
         27        complaint, whichever occurs later.
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  COOLEY LLP                                                            STIPULATION TO EXTEND TIME TO RESPOND TO
ATTORNEYS AT LAW                                              2.                             AMENDED COMPLAINT
  LOS ANGELES
                                                                                     CASE NO. 2:19-CV-02702-VAP
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            1           IT IS SO STIPULATED.
            2
                   Dated:   June 19, 2019         Respectfully submitted,
            3
                                                  KILPATRICK TOWNSEND &
            4                                     STOCKTON LLP
            5
            6                                     /s/ Gregory S. Gilchrist
                                                  Gregory S. Gilchrist
            7                                     Ryan T. Bricker
                                                  Sophy Manes
            8                                     Alexandra N. Martinez
                                                  Attorneys for Plaintiffs
            9                                     PATAGONIA, INC. and PATAGONIA
                                                  PROVISIONS, INC.
         10
         11        Dated:   June 19, 2019         Respectfully submitted,
         12                                       COOLEY LLP
         13
         14                                       /s/ Bobby Ghajar
                                                  Bobby Ghajar
         15                                       Amanda Main
         16                                       Attorneys for Defendant
                                                  ANHEUSER-BUSCH, LLC
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  COOLEY LLP                                                STIPULATION TO EXTEND TIME TO RESPOND TO
ATTORNEYS AT LAW
  LOS ANGELES
                                                   3.                            AMENDED COMPLAINT
                                                                        CASE NO. 2:19-CV-02702-VAP
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            1                  DECLARATION OF CONSENT TO ELECTRONIC SIGNATURE:
            2              Pursuant to Central Dist. LR 5-4.3.4(a)(2), the electronic filer of this Stipulation,
            3      Bobby Ghajar, hereby attests that all other signatories listed, and on whose behalf the
            4      filing is submitted, concur in the filing’s content and have authorized this filing.
            5
                   Dated: June 19, 2019                     /s/ Bobby Ghajar
            6                                               Bobby Ghajar
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            8      206223118

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  COOLEY LLP                                                             STIPULATION TO EXTEND TIME TO RESPOND TO
ATTORNEYS AT LAW                                               4.                             AMENDED COMPLAINT
  LOS ANGELES
                                                                                      CASE NO. 2:19-CV-02702-VAP
